      Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 1 of 15




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                              ATLANTA DIVISION

  MARK ANDREWS,                               Case No. 1:22-cv-04259-SDG

             Plaintiff,

       v.

  DINESH D’SOUZA, et al.,                     JURY TRIAL DEMANDED
              Defendants.
                                              Supplemental Complaint




      Pursuant to Rule 15(d) of the Federal Rules of Civil Procedure, Plaintiff Mark

Andrews, through his attorneys, hereby supplements his First Amended Complaint

(the “Complaint”), Dkt. 27, with the following “transaction[s], occurrence[s], or

event[s]” that took place after the filing of the Complaint. The facts set forth below

in this Supplemental Complaint are in addition to, and do not supersede or replace,

the facts and claims alleged in the Complaint.




                                          1
  Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 2 of 15




                             INTRODUCTION

   1.    This lawsuit seeks accountability on behalf of an innocent Georgia

voter, Mark Andrews, whom Defendants falsely accused, and continue to

accuse, of ballot fraud in their multi-million dollar-grossing film 2000 Mules, in

the accompanying book, and in related promotional appearances.

   2.    Defendants Dinesh D’Souza, D’Souza Media LLC, True the Vote,

Inc., Catherine Engelbrecht, Gregg Phillips, Salem Media Group, Inc., Regnery

Publishing, Inc., and John Does (collectively “Defendants”), are the architects

and amplifiers of a widely circulated false narrative about alleged ballot fraud

in the 2020 election. Through their false statements about voters, including

about Mr. Andrews and using an image of Mr. Andrews’ face, they have

profited financially and reputationally within certain circles while causing

significant harm to Mr. Andrews.

   3.    Mr. Andrews supplements his Complaint to include new, relevant,

factual information.

   4.    As alleged in the Complaint, notwithstanding findings by a law

enforcement investigation that Mr. Andrews was legally voting in the video clip

of him Defendants excerpted to include in the book and film, and despite Mr.

Andrews repeatedly put them on notice that their allegations about him are false


                                      2
  Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 3 of 15




and defamatory, Defendants have continued to promote and amplify their 2000

Mules narrative and the lie that Mr. Andres was a “mule” engaged in ballot

fraud, via the film, book, and related appearances.

   5.    In recent months, Defendants have amped up their defamatory

campaign against Mr. Andrews.

   6.    Defendants Engelbrecht, Phillips, and True the Vote (collectively,

“TTV Defendants”) have recently published multiple copies of a document on

their website that include Mr. Andrews’ date of birth and other personally

identifying information, as well as unblurred images of his face and an image of

his SUV (with the license plate redacted, but also including his printed license

plate number), describing the documents as evidence and research supporting

2000 Mules. At the same time, they have been arguing to the Court that the

Complaint should be dismissed because they assert that Mr. Andrews was not

identifiable in the images of him they promoted and that their portrayals were of

“mules” generally and not Mr. Andrews specifically. See generally, TTV

Defendants’ Motion to Dismiss (MTD), Dkt. 58.

   7.    In recent interviews, TTV Defendants have been actively promoting

this website with his information in response to questions specifically about Mr.




                                      3
        Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 4 of 15




     Andrews and in connection with the false allegations of ballot fraud that they

     make against him.

                                      PARTIES

        8.    The allegations stated in paragraphs 17 through 27 of the First

     Amended Complaint are adopted and incorporated by reference, pursuant to

     Federal Rules of Civil Procedure 10(b) and 10(c).

                            JURISDICTION & VENUE

        9.    The allegations in paragraphs 28 through 31 of the First Amended

     Complaint are adopted and incorporated by reference, pursuant to Federal Rules

     of Civil Procedure 10(b) and 10(c).

                 SUPPLEMENTAL FACTUAL ALLEGATIONS

    Open.ink Is a Website Created and Promoted by Defendants True The Vote,
                            Engelbrecht, And Phillips

        10.   Defendant TTV’s primary website, truethevote.org, describes

     open.ink as a website that “we will roll out” and on which “we’ve posted all of

     our findings.”1




1
 True the Vote, Another Whipsaw Week (Aug. 15, 2021),
https://www.truethevote.org/another-whipsaw-week/.

                                           4
      Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 5 of 15




       11.   During an August 16, 2022, video interview with RSBN (Right Side

    Broadcast Network), an online media outlet, Defendants Engelbrecht and

    Phillips both identified open.ink as the website on which they would be posting

    the “evidence” in support of 2000 Mules.2

       12.   In that RSBN interview, Defendant Phillips stated: “We are launching

    today something called open.ink.”3 Defendant Engelbrecht said, “that’s the

    place that we’re going to continue to load [documents] into.”

       13.   In the same RSBN interview, Defendant Engelbrecht stated: “This is

    very much a repository” for the evidence from 2000 Mules. “Open.ink is the

    site where you’re going to be able to go” to download the so-called evidence.4

       14.   This interview, and the TTV website open.ink, was widely reported

    on at the time and is discussed in Plaintiff’s Complaint in paragraphs 113 and

    179, which are adopted and incorporated by reference pursuant to Federal Rules

    of Civil Procedure 10(b) and 10(c).




2
  Matt Shuham, WATCH: The Moment When The ‘2,000 Mules’ Folks Admit
Their Supposed Evidence Is Nonsense, TPM (Aug. 16, 2022, 4:21 PM),
https://talkingpointsmemo.com/news/watch-the-moment-when-the-2000-mules-
folks-admit-their-supposed-evidence-is-nonsense.
3
  Id.
4
  Id.

                                          5
        Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 6 of 15




        15.      More recently, in a July 28, 2023, interview on “CrossPolitic,” an

     online video podcast, Defendant Engelbrecht described open.ink as a website

     that she asked Defendant Phillips to build for Defendant TTV. Engelbrecht

     stated: “open.ink started out as . . . a site where True The Vote could put its

     research.” She then continued “I tasked Gregg and his team to build” the

     website.5

    TTV Defendants Posted Mr. Andrews’ Personal Identifying Information On
                                 Open.Ink

        16.      Multiple copies of the document about Mr. Andrews have been posted

     to Defendants’ open.ink website, which they have described as a repository of

     their research supporting 2000 Mules. These documents, which appear to be

     copies of the Georgia State Elections Board file concerning the investigation

     into the allegation that Mr. Andrews had engaged in voter fraud, include Mr.

     Andrews’ image alongside his personal identifying information, namely:

              ○ His first name, middle initial, and last name
              ○ His home address
              ○ His voter registration number
              ○ The voter registration numbers of four of his family members
              ○ His date of birth


5
 CrossPolitic, Thrown in Prison for not Snitching: Injustice & 2000 Mules,
Rumble (July 28, 2023, 9:00 PM), https://rumble.com/v330nok-thrown-in-prison-
for-not-snitching-injustice-and-2000-mules.html.

                                             6
      Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 7 of 15




             ○ His license plate number along with a description of his car’s make,
               model, and color
             ○ Multiple images of Mr. Andrews’ car, with the license plate redacted
               (although his full license plate number is also printed in the
               documents), which match the images contained in the 2000 Mules
               book and/or film
             ○ Multiple images of Mr. Andrews where his face is not blurred or
               redacted, which match the images contained in the 2000 Mules book
               and/or film

       17.      Defendant Phillips recently promoted and referred viewers and

    listeners to this website in a July 24, 2023, interview on Stephen Bannon’s

    “War Room,” an online video podcast. In the interview, Bannon asked about

    2000 Mules and a recent Wall Street Journal editorial6 discussing how no

    evidence has been provided that would support the assertions made in 2000

    Mules. In response, Phillips stated, “we have so many documents,” including

    “the data and the research that we did for ultimately what became the movie.”

    The conversation then continued:

                Bannon: “How do people get to find out all of the information?
                Because 2000 Mules is as relevant today as it was when they first
                found out about it.”




6
 The Editorial Board, ‘2000 Mules’ but No Evidence, WSJ (July 23, 2023, 6:15
pm), https://www.wsj.com/articles/true-the-vote-georgia-lawsuit-subpoena-2000-
mules-ballot-harvesting-2020-election-donald-trump-eb331058.

                                            7
      Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 8 of 15




                Phillips: “We built a new platform called open.ink . . . we released all
                of the [data about a different lawsuit] . . . We’re going to take all of
                this information . . . we’re just going to dump it into open.ink.”

                Engelbrecht: “ . . . we’re finally now at a place where we can start
                posting heavy duty stuff and it’s coming.”7

       18.      At the end of the interview, both Phillips and Engelbrecht list the

    social media handles and websites where listeners/viewers can find more

    information, and Phillips identifies truethevote.org and open.ink as their

    websites.

       19.      In addition to acknowledging that they operate open.ink and are

    responsible for its content, Defendants Engelbrecht and Phillips also continue to

    direct listeners/viewers to the website for more information about the so-called

    evidence in support of their allegations specifically against Mr. Andrews.

       20.      In the July 28, 2023, video interview on CrossPolitic, the hosts

    discussed 2000 Mules and the recent WSJ editorial that noted the lack of any

    evidence to support the allegations of the film, including those made against




7
 Bannon’s War Room, Gregg Phillips And Catherine Engelbrecht: "That (WSJ)
article is end to end inaccurate", Rumble (July 24, 2023),
https://rumble.com/v324ki6-gregg-phillips-and-catherine-engelbrecht-that-wsj-
article-is-end-to-end-ina.html.

                                             8
        Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 9 of 15




     Mr. Andrews. In response, Defendant Phillips said, “We have just short of two

     petabytes of data” in support of the theories in 2000 Mules.

        21.   Later in the same interview, the hosts specifically referenced Mr.

     Andrews by name and asked about the evidence against him. Defendant Phillips

     then said, “There’s a lot more to that story than just what they published here.”

     Later, as part of a continued discussion about the so-called evidence, he said,

     “We have all of this data and there’s nothing they can do about it,” and “we

     built a platform called open.ink.” He then said, “We dropped all of our

     information” about a different case into open.ink and “we may just do that in

     Georgia.”8

    TTV Defendants Posted This Information After They Filed Their Motion to
    Dismiss Arguing that They Had Not Specifically Targeted Mr. Andrews or
                 Published Identifying Information About Him

        22.   Upon information and belief, based on the metadata available on

     open.ink, the documents containing Mr. Andrews’ image and personally

     identifying information were posted on open.ink on or about April 15, 2023, at

     12:37 PM Eastern Time.



8
 CrossPolitic, Thrown in Prison for not Snitching: Injustice & 2000 Mules,
Rumble (July 28, 2023, 9:00 PM), https://rumble.com/v330nok-thrown-in-prison-
for-not-snitching-injustice-and-2000-mules.html.

                                           9
  Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 10 of 15




   23.   April 15, 2023, is more than two months after TTV Defendants filed

their Motion to Dismiss, Dkt. 58, on February 6, 2023.

   24.    In their Motion to Dismiss, TTV Defendants repeatedly assert that

they never made any publication that identified Mr. Andrews by name, image,

or in any other way; that their portrayals were of “mules” generally and not Mr.

Andrews specifically; and they had not taken any steps to try to intimidate him,

specifically. See, e.g., TTV MTD at 4-5, 7-10. They tried to absolve themselves

of responsibility by blaming others for publication of Mr. Andrews’ image and

his vehicle with its license plate visible and by accusing Mr. Andrews of

improper group pleading. See TTV MTD at 7-12.

   25.    The TTV Defendants’ most recent actions described in this

Supplemental Complaint—namely, posting documents with Mr. Andrews’

unblurred image and personal identifying information on their website and

directing listeners/viewers to that website in response to questions about their

“evidence” regarding Mr. Andrews—provide further support for Mr. Andrews’

claims as stated in the Complaint.

   26.   The allegations stated in Paragraphs 32 through 257 of the First

Amended Complaint are adopted and incorporated by reference, pursuant to

Federal Rules of Civil Procedure 10(b) and 10(c).


                                      10
     Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 11 of 15




             CLAIMS FOR RELIEF & PRAYER FOR RELIEF

     27.   Plaintiff does not bring any additional claims for relief in this

  Supplemental Complaint. Rather, the allegations and claims for relief stated in

  Paragraphs 258 through 322, and the subsequent Prayer for Relief, of the First

  Amended Complaint are adopted and incorporated by reference, pursuant to

  Federal Rules of Civil Procedure 10(b) and 10(c).


Dated: August 7, 2023                 Respectfully submitted,

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                                        11
Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 12 of 15




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                               12
Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 13 of 15




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                               13
     Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 14 of 15




                     CERTIFICATE OF COMPLIANCE

Pursuant to Local Rule 7.1D, counsel certifies that the foregoing was prepared in

Times New Roman, 14-point font, in compliance with Local Rule 5.1C.


                                     /s/ Sara Chimene-Weiss
                                     Sara Chimene-Weiss*




                                       14
     Case 1:22-cv-04259-SDG Document 108-1 Filed 09/30/23 Page 15 of 15




                         CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the within and

foregoing was electronically filed with the Clerk of Court using CM/ECF system,

which will automatically send email notification of such filing to all attorneys of

record.


                                      Dated: August 7, 2023

                                      /s/ Sara Chimene-Weiss
                                      Sara Chimene-Weiss*




                                        15
